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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION


 EILEEN M. O’BRYAN,                            )
                                               )
                        Plaintiff,             )
                                               )
        v.                                     )   CASE NO. 3:17-cv-600-RGJ-LLK
                                               )
                                               )   Electronically Filed
 PREFERRED CREDIT, INC., et al.,               )
                                               )
                        Defendants.            )
                                               )
                                               )
                                               )
                             AGREED ORDER OF DISMISSAL

       Upon agreement of Plaintiff Eileen O’Bryan and Defendant Preferred Credit, Inc., each

by and through counsel, and the Court being otherwise sufficiently advised;

       IT IS HEREBY ORDERED that Plaintiff’s claims asserted in this litigation against

Preferred Credit, Inc. are hereby DISMISSED WITH PREJUDICE, each party to bear its own

attorney’s fees and costs.




Respectfully submitted,
                                                      August 8, 2018
/s/ David W. Hemminger
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Have seen and agreed:

FROST BROWN TODD LLC

/s/ Thomas C. Gleason (with permission)
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Counsel for Defendant Preferred Credit, Inc.



                                           CERTIFICATE OF SERVICE

          I hereby certify that on the 2nd day of August, 2018, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing

to all parties of record.


                                                              /s/ David W. Hemmiger
                                                              Counsel for Plaintiff



https://fbtlaw-my.sharepoint.com/personal/kthompson_fbtlaw_com/Documents/Desktop/Preferred Credit Agreed Order of Dismissal.docx




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